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 8                                UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                    SAN FRANCISCO DIVISION
11   IN RE: BEXTRA AND CELEBREX                     CASE NO. 05-CV-01699 CRB
     MARKETING SALES PRACTICES AND
12   PRODUCT LIABILITY LITIGATION                   MDL No. 1699
13
     This Document Relates To:                      ORDER RECOMMENDING
14                                                  TERMINATION OF MULTIDISTRICT
     ALL CASES                                      LITIGATION PROCEEDING TO JUDICIAL
15                                                  PANEL ON MULTIDISTRICT LITIGATION
16

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18          In September 2005, the Judicial Panel on Multidistrict Litigation (“JPML” or “the Panel”)

19   assigned these proceedings to this Court. With the able assistance of Special Master Fern M.

20   Smith and counsel for the parties, the Court oversaw extensive discovery, including the

21   production of tens of millions of pages of documents, hundreds of depositions, and voluminous

22   written discovery. The Court, with the assistance of the Special Master, actively coordinated the

23   MDL proceedings with related litigation in the New York and New Jersey state courts to reduce

24   costs and duplication of discovery and to promote the consistent determination of similar issues

25   among these proceedings. The Court also adjudicated a number of dispositive motions affecting a

26   substantial portion of the docket, including motions to dismiss purchase claim class actions on the

27   grounds of federal preemption and state law and Daubert motions in the product liability cases

28   with respect to whether Celebrex can cause heart attacks and strokes. The Court and parties
                                                  -1-
         ORDER RECOMMENDING TERMINATION OF MULTIDISTRICT LITIGATION PROCEEDING TO
                 JUDICIAL PANEL ON MULDISTRICT LITIGATION – M:05-CV-01699-CRB
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 1   selected dozens of individual product liability cases for a bellwether discovery pool, from which
 2   the parties agreed to a number of cases for bellwether trials.
 3             By the end of 2008, Pfizer Inc. announced that it had resolved the bellwether trial cases, as
 4   well as thousands of other product liability cases. In March 2009, the Court preliminarily
 5   approved a settlement of the purchase claim class actions, for which it gave final approval in
 6   September 2009. By the end of 2009, within approximately four years of centralization, less than
 7   six percent of the docket remained, and those remaining cases were settled or otherwise resolved
 8   in an expeditious fashion. After approximately seven years of litigation, the Court now has
 9   dismissed the final product liability plaintiff from these proceedings.
10             Accordingly, the Court hereby ORDERS as follows:
11             1.     The Court hereby TERMINATES certain preservation obligations imposed in
12   various pretrial orders, including Pretrial Order No. 1 (Doc. No. 57), ¶ 13; Pretrial Order No. 4
13   (Doc. No. 169), ¶¶ 7, 34i; Pretrial Order No. 10 (Doc. No. 201), ¶ 13; and Pretrial Order No. 11
14   (Doc. No. 246), ¶ 12.
15             2.     Pursuant to paragraph 35 of Pretrial Order No. 3 (Doc. No. 168), the provisions of
16   the protective order issued in this litigation SHALL remain in effect after the termination of these
17   proceedings.
18             3.     A number of plaintiffs whose claims were resolved have not yet fulfilled their
19   statutory obligations to the Centers for Medicare and Medicaid Services (“CMS”), although those
20   plaintiffs’ claims have been dismissed from the Court’s docket. Other plaintiffs may in the future
21   file claims relating to the subject matters of this litigation. Nonetheless, the Court does not
22   anticipate any substantial future activity in this litigation. Accordingly, the Court hereby
23   RECOMMENDS to the JPML that the JPML terminate this multidistrict litigation proceeding at
24   this time.
25             4.     Should the JPML accept this Court’s recommendation to terminate the
26   multidistrict litigation proceeding, the Clerk of this Court SHALL close the MDL No. 1699
27   master file (M:05-CV-01699-CRB) without further order of this Court.
28   /////
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             ORDER RECOMMENDING TERMINATION OF MULTIDISTRICT LITIGATION PROCEEDING TO
                     JUDICIAL PANEL ON MULDISTRICT LITIGATION – M:05-CV-01699-CRB
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 1          5.      Should the JPML accept this Court’s recommendation to terminate the
 2   multidistrict litigation proceeding, and any party subsequently files in (or removes to) a United
 3   States District Court any new claims related to this proceeding, the Court recognizes that any
 4   request to transfer such an action would be directed to the JPML. If such a request is made,
 5   however, this Court would welcome the transfer of any such action to this Court for further
 6   proceedings, given the Court’s experience with these claims.
 7          6.      Should any party to these proceedings require the assistance of this Court with
 8   respect to plaintiffs’ statutory obligations to CMS in cases filed by attorneys that were before this
 9   Court, then the litigants may move this Court to re-open this proceeding for the purpose of
10   adjudicating any such issues.
11   IT IS SO ORDERED.
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13   Dated: March 29, 2013
                                                   HONORABLE CHARLES R. BREYER
14                                                 UNITED STATES DISTRICT JUDGE
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         ORDER RECOMMENDING TERMINATION OF MULTIDISTRICT LITIGATION PROCEEDING TO
                 JUDICIAL PANEL ON MULDISTRICT LITIGATION – M:05-CV-01699-CRB
